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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


JOE REDNER,

        Plaintiff,

v.                                                         Case No. 8:05-cv-2061-T-30MAP

HILLSBOROUGH COUNTY,
FLORIDA, etc., et al.,

      Defendants.
________________________________/

                                                 ORDER

        THIS CAUSE comes before the Court upon Individually Sued Defendants’ Motion

to Dismiss Amended Complaint With Memorandum of Law In Support (Dkt. 14), Plaintiff’s

Response in Opposition (Dkt. 27), Defendant Hillsborough County’s Motion to Dismiss

Amended Complaint (Dkt. 16) and Plaintiff’s Response in Opposition to the same (Dkt. 26).

                                    FACTUAL BACKGROUND

        During June 2005, which, according to the complaint1 is recognized as Gay Pride

Month, a Gay Pride display was placed at the West Gate Regional Library.2 The display was

designed for a young adult audience and featured young adult books written by gay authors

        1
          For purposes of a Motion to Dismiss this Court is required to accept the allegations of the Complaint
as true. Therefore, the factual background is taken from those allegations. See Hishon v. King & Spalding,
467 U.S. 69, 73 (1984); Scheauer v. Rhodes, 416 U.S. 232 (1974).
        2
         The display was created by a University of South Florida Library Science graduate student for a
Multicultural Materials for Children and Young Adults course.

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or featuring Gay, Lesbian, Bisexual, Transgender, Queer and Questioning themes. The

display was originally placed at the main entrance of the library, but due to complaints, it was

removed. A smaller display was later created and relocated in the adult fiction section of the

library.

       Upon hearing of the Gay Pride Month display, Commissioner Rhonda Storms verbally

expressed her disagreement with the content of the display and during a Board meeting, made

a motion for Hillsborough County to adopt a policy wherein it would abstain from promoting

or participating in gay pride recognition and events. Although faced with much opposition

from the citizenry, Commissioner Storms’ motion was approved by all but one of the

Commissioners. The policy as approved states:

       Hillsborough County Government abstains from acknowledging, promoting,
       and participating in gay pride recognition and events.

(Dkt. 9 at 6).

       Plaintiff, a resident of Hillsborough County and a homosexual, subsequently filed a

Complaint against Hillsborough County Commissioners, individually, and the Hillsborough

County Commission alleging Defendant’s policy violated his Constitutional rights. Upon

Defendants’ filing of a Motion to Dismiss, Plaintiff filed a four count Amended Complaint

wherein he alleged: (1) Defendants’ policy is facially unconstitutional because it violates

Plaintiff’s due process rights to equal protection; (2) Defendants’ policy is unconstitutional

in its application because it is being used to censor and violates the First Amendment; (3) the

commissioners individually are liable because they knowingly enacted a policy that was


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unconstitutional on its face and it its application; and (4) Defendants’ policy and its

application violate the establishment clause of the First Amendment.

       Defendants’ filed Motions to Dismiss arguing (1) the County Commissioners could

not be sued in their individual capacity for legislative actions; (2) Plaintiff lacks standing to

bring his claims; and (3) the speech at issue is government speech and thus can be regulated

by the government.

                                        DISCUSSION

       A.     Motion to Dismiss Standard.

       A complaint should not be dismissed for failure to state a claim unless it appears

beyond a reasonable doubt that the plaintiff can prove no set of facts to support his claim.

Conley v. Gibson, 355 U.S. 41, 45-46 (1957). “The standard on a 12(b)(6) motion is not

whether the plaintiff will ultimately prevail in his or her theories, but whether the allegations

are sufficient to allow the plaintiff to conduct discovery in an attempt to prove the

allegations.” Florida Family Ass’n, Inc. v. School Board of Hillsborough County, 2006 WL

1063738 at 1 (M.D. Fla. 2006) (citing Jackam v. Hospital Corp. of Am. Mideast, Ltd., 800

F.2d 1577, 1579 (11th Cir. 1986)).

       B.     The Commissioner Defendants’ Motion to Dismiss.

        In the Commissioner Defendants’ Motion to Dismiss (Dkt. 14), the Commissioners

argue that because Plaintiff’s suit against them individually stems from actions they took in

their official capacity as County Commissioner, i.e. voting for the contested policy, the

doctrine of legislative immunity attaches and protects them from suit (Dkt. 14 at 9). This

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Court agrees. See Bogan v. Scott-Harris, 523 U.S. 44, 55 (1998). As such, the Individually

Sued Defendants’ Motion to Dismiss Amended Complaint (Dkt. 14) is GRANTED.

       C.     Hillsborough County Commission’s Motion to Dismiss.

       In the County’s Motion to Dismiss, it presents two arguments in support of its Motion:

First, that Plaintiff lacks standing to pursue his claims; and Second, the policy affects

governmental speech and the government can choose what it says and what it will not say.

              1.      Standing.

       The County argues that Plaintiff’s claims should be dismissed because Plaintiff lacks

standing to sue. Standing "is the threshold question in every federal case, determining the

power of the court to entertain the suit." Warth v. Seldin, 422 U.S. 490, 499 (1975). "A

plaintiff who invokes the jurisdiction of a federal court bears the burden to show "(1) an

injury in fact, meaning an injury that is concrete and particularized, and actual or imminent,

(2) a causal connection between the injury and the causal conduct, and (3) a likelihood that

the injury will be redressed by a favorable decision." See Camp Legal Defense Fund, Inc.

v. City of Atlanta , 2006 WL 1623279 at 7 (11th Cir. 2006) (citing Granite State Outdoor

Adver., Inc. v. City of Clearwater, 351 F.3d 1112, 1116 (11th Cir.2003)).

       According to the County, in order to establish standing, Plaintiff had to “allege such

a personal stake in the outcome of the controversy as to assure that concrete adverseness

which sharpens the presentation of issues upon which the court so largely depends for

illumination of difficult constitutional issues.” (Dkt. 16 at 3) (citing Baker v. Carr, 369 U.S.

186, 204 (1962)).     In the County’s view, the harm of which Plaintiff complains is a
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generalized grievance that others who desired to see the Gay Pride Month display have, not

an individualized harm, and in order to establish standing based on an individualized harm,

Plaintiff had to allege he personally was injured. See Warth v. Seldin, 422 U.S. 490, 502

(1975). The County argues that Plaintiff has failed to allege he was personally injured and

thus lacks standing to pursue his claims. In support of this contention, the County identifies

Plaintiff’s allegation that the policy prevented him from seeing the library display in June

2005. However, according to the County, this complaint alone does not distinguish him from

any other citizen who did not have an opportunity to view the library display.

       In reviewing the allegations of the Amended Complaint, it appears to this Court

Plaintiff allegations are sufficient to withstand a Motion to Dismiss based on standing only

as to his Equal Protection Claims as Plaintiff has alleged he is a homosexual (Dkt. 9 at ¶ 2),

and that Defendant’s policy treats gays differently in that its purpose is to disadvantage

homosexuals. (Dkt. 9 at ¶¶ 36-37). As such, Plaintiff has alleged sufficient facts to establish

standing as to his Equal Protection claim. Conversely, while Plaintiff has alleged in the

Amended Complaint that Defendant’s policy burdens his First Amendment right to receive

the information contained in the Gay Pride Month display (Dkt. 9 at ¶ 26), at no point in the

Amended Complaint has he alleged that he visited the library with the intent to view the

display and was unable to do so as a result of the County’s policy. What Plaintiff does allege

is that he became aware of the display after reading an article discussing the display’s

removal and that he “would have liked to visit them.” (Dkt. 9 at ¶ 12). As the Amended

Complaint stands, Plaintiff has not alleged he suffered an individual harm and thus has failed
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to establish standing as to his First Amendment claims. Accordingly, Defendant’s Motion

to Dismiss as to Counts II and IV is GRANTED.

              2.     Count I - Equal Protection.

       Plaintiff alleges in Count I of his Amended Complaint that the County’s policy treats

gays differently and disadvantages homosexuals (Dkt. 9 at ¶¶ 36-37). Plaintiff further alleges

that the policy, in its application, “burdens Plaintiff’s and others similarly situated First

Amendment rights.” Id. at ¶ 37. While the allegations in the Amended Complaint appear

to limit Plaintiff’s Equal Protection claim to those situations where homosexuals desire to

exercise their First Amendment rights in Hillsborough County, the guaranty of ‘equal

protection of the laws is a pledge of the protection of equal laws,” See Romer v. Evans, 517

U.S. 620, 633 (1995), not just those laws delineated in the First Amendment.

       In Romer, the Supreme Court addressed the issue of whether an injunction enjoining

enforcement of an amendment to the Colorado state constitution which prohibited all

legislative, executive or judicial action at any level of state or local government designed to

help homosexual persons was properly entered. Romer, 517 U.S. at 624. In affirming the

lower court’s entry of the injunction, the Court found that the amendment, “identifie[d]

persons by a single trait and denie[d] them protection across the board,” Id. at 633; “[i]t is

not within our constitutional tradition to enact laws of this sort.” Id. The Court continued,

opining:




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               Central both to the idea of the rule of law and to our own
               Constitution’s guarantee of equal protection is the principal that
               government and each of its parts remain open on impartial terms
               to all who seek its assistance. ‘Equal protection of the laws is
               not achieved through indiscriminate imposition of inequalities.’
               ...
               A law declaring that in general it shall be more difficult for one
               group of citizens than for all others to seek aid from the
               government is itself a denial of equal protection of the laws in
               the most literal sense
               ...
               [L]aws of the kind now before us raise the inevitable inference
               that the disadvantage imposed is born of animosity toward the
               class of persons affected. ‘[I]f the constitutional conception of
               ‘equal protection of the laws’ means anything, it must at the
               very least mean that a bare . . . desire to harm a politically
               unpopular group cannot constitute a legitimate governmental
               interest.


Id. at 633-43 (citations omitted) (emphasis in original).


       Similar to the amendment in Romer, the County’s policy, on its face, appears to

disadvantage homosexuals based solely on their classification, disadvantages that are not

merely incidental. The disadvantage is not solely in limiting or burdening homosexuals’

First Amendment rights, as alleged by Plaintiff, but may extend much farther. “A law

declaring that in general it shall be more difficult for one group of citizens than for all others

to seek aid from the government is itself a denial of equal protection of the laws in the most

literal sense.” Romer, 517 U.S. at 633.

       While Plaintiff, has seemingly limited his Equal Protection claim to his First

Amendment rights, something this Court is not entirely sure was intended, he has failed to

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allege in his Amended Complaint how his First Amendment rights have been burdened. See

Footnote 1, supra. In light of the allegations in Plaintiff’s Amended Complaint, this Court

finds that the County’s Motion to Dismiss as to Count I should be GRANTED, but Plaintiff

should have the opportunity to amend the Amended Complaint to better describe his Equal

Protection claims concerning the First Amendment and any other claimed loss under Romer.3

           It is therefore ORDERED AND ADJUDGED that:

1.         The Individually Sued Defendants’ Motion to Dismiss Amended Complaint With

           Memorandum of Law In Support (Dkt. 14) is GRANTED. Plaintiff’s Complaint as

           to these Defendants is DISMISSED WITH PREJUDICE.

2.         Defendant Hillsborough County’s Motion to Dismiss Amended Complaint (Dkt. 16)

           is GRANTED.

3.         Plaintiff has TWENTY (20) DAYS from the date of this Order in which to file and

           serve his Second Amended Complaint as detailed above.

           DONE and ORDERED in Tampa, Florida on July 20, 2006.




Copies furnished to:
Counsel/Parties of Record
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           3
         Plaintiff is directed to describe in his Second Amended Complaint how the County’s policy would
make it “more difficult for one group of citizens than for all others to seek aid from the government.” Romer,
517 U.S. at 633-43 (citations omitted).

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